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 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                *****
11   UNITED STATES OF AMERICA,                     )      Case No CRF-06-0171 OWW
                                                   )
12                                                 )
                                                   )      ORDER ON MOTION
13                          Plaintiffs,            )      PRESERVE EVIDENCE
                                                   )
14   vs.                                           )
                                                   )
15   MICHAEL WATTENBARGER, et al.,                 )      DATE:        June 5, 2006
                                                   )      TIME:        1:30 p.m.
16                                                 )      COURT:       Honorable Oliver W. Wanger
                            Defendant.             )
17
18          Defendant Michael Wattenbarger’s motion to preserve evidence came on for hearing on
19   June 5, 2006 at 1:30 p.m. The Court having considered the motion and the argument of counsel
20   for the parties and GOOD CAUSE APPEARING THEREFORE;
21          IT IS HEREBY ORDERED that all methamphetamine and marijuana seized in the
22   above-captions case which has not as yet been disposed of be preserved pending reasonable
23   inspection by the defense and until further order of the Court.
24          IT IS SO ORDERED.
25   IT IS SO ORDERED.
26   Dated: June 8, 2006                               /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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